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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

                                                    :
                                                       MDL NO. 2179
IN RE: OIL SPILL by the OIL RIG                     :
       “DEEPWATER HORIZON” in the                   :
       GULF OF MEXICO, on                           :
       APRIL 20, 2010                               :
                                                       SECTION: J
                                                    :
THIS DOCUMENT RELATES TO:                           :
                                                    :
ALL ACTIONS                                         :
                                                       JUDGE BARBIER
                                                    :
                                                       MAG. JUDGE SHUSHAN
                                                    :
.. .. .. .. .. .. .. .. .. .. .. .. .. .. .. ..     . .. .. .. .. .. .. .. .. .. .. .. .. ..

                                           ORDER

                           [Amending Pre-Trial Order No. 9]

       CONSIDERING Plaintiffs Motion to Amend Pre-Trial Order No. 9:

       IT IS ORDERED that Pre-Trial Order No. 9 be amended to add subsection p to

Section IV(1), Shared Costs, as follows:

              “p.     Travel costs incurred in connection with overseas and/or
                      international travel, in accordance with the guidelines set
                      forth in Section V(2).”

       SIGNED this ___ day of March, 2011.


                                                      __________________________
                                                      Hon. Carl J. Barbier
                                                      U.S. District Court Judge
